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 4
     Attorney for ELISEO GOMEZ
 5
 6                               UNITED STATES DISTRICT COURT
 7                              EASTERN DISTRICT OF CALIFORNIA
 8
     UNITED STATES OF AMERICA,             )                   CR. NO. 2:07-CR-268-FCD
 9                                         )
                           Plaintiff,      )                   STIPULATION AND ORDER
10                                         )                   TO CONTINUE STATUS
     vs.                                   )                   CONFERENCE
11                                         )
     ELISEO GOMEZ,                         )
12                                         )
                           Defendant.      )
13   _____________________________________ )
14          Defendant Eliseo Gómez, through his appointed counsel, Gilbert A. Roque, and the
15   United States of America, through Assistant United States Attorney Heiko P. Coppola, agree
16   that the Status Conference set for March 2, 2009, at 10:00 a.m., be continued to April 6, 2009,
17   at 10:00 a.m., before the Honorable Frank C. Damrell, Jr.
18          In addition, it is agreed that the Court should find excludable time through April 6, 2009,
19   pursuant to Local Rule T-4, to allow defense counsel reasonable time to prepare.
20                                              Respectfully submitted,
21   DATED: February 25, 2009                   /s/ Gilbert A. Roque
                                                GILBERT A. ROQUE, Attorney for
22                                              ELISEO GOMEZ, Defendant
23
     DATED: February 25, 2009                   /s/ Heiko P. Coppola________________________
24                                              HEIKO P. COPPOLA
                                                Assistant United States Attorney
25
            IT IS SO ORDERED.
26
27   DATED: February 25, 2009
                                                ________________________________________
28                                              FRANK C. DAMRELL, JR.
                                                UNITED STATES DISTRICT JUDGE
